USDC IN/ND case 3:24-cv-00953-DRL-SJF                          document 7      filed 01/21/25    page 1 of 1

AO 450 (Rev. 01/09)    Judgment in a Civil Action


                              UNITED STATES DISTRICT COURT
                                                          for the
                                               Northern District of Indiana
HEIDI DAVONNE BROWN
      Plaintiff

                      v.                                                 Civil Action No. 3:24-cv-953

IVY TECH COMMUNITY COLLEGE
      Defendant


                                        JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

☐ the Plaintiff(s),                                                                           recover from the
Defendant(s)                                                                                    damages in the
amount of                                                , plus post-judgment interest at the rate of     %

☐ the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff


x Other: This case is DISMISSED WITHOUT PREJUDICE.
This action was (check one):

☐ tried to a jury with Judge
presiding, and the jury has rendered a verdict.

☐ tried by Judge
without a jury and the above decision was reached.

x decided by Judge Damon R. Leichty.

DATE:        1/21/2025                                CHANDA J. BERTA, CLERK OF COURT

                                                      by     s/N. Corle
                                                      Signature of Clerk or Deputy Clerk
